            Case 3:20-cv-07811-RS         Document 127       Filed 08/16/22     Page 1 of 2




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 DAVID COUNTRYMAN (CABN 226995)
   CHRIS KALTSAS (NYBN 5460902)
 5 CLAUDIA A. QUIROZ (CABN 254419)
   GALEN A. PHILLIPS (CABN 307644)
 6
          450 Golden Gate Avenue, Box 36055
 7        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 8        FAX: (415) 436-7234
          david.countryman@usdoj.gov
 9
   Attorneys for United States of America
10

11                                  UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14

15   UNITED STATES OF AMERICA,                   ) CASE NO. 20-CV-07811-RS
                                                 )
16          Plaintiff,                           ) JUDGMENT AND ORDER OF
                                                 ) FORFEITURE
17      v.                                       )
                                                 )
18   Approximately 69,370 Bitcoin (BTC), Bitcoin )
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )
19   Cash (BCH) seized from                      )
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx; )
20                                               )
            Defendant.                           )
21                                               )
                                                 )
22

23         On November 5, 2020, the United States filed the instant complaint to forfeit approximately
24 69,370 Bitcoin (BTC), Bitcoin Gold (BTG), Bitcoin SV (BSV), and Bitcoin Cash (BCH) seized from

25 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx (hereafter the “Defendant Bitcoins”). Docket No. 1.

26 The United States filed an amended complaint on November 20, 2020. Docket No. 8. Five parties

27 claimed ownership: (1) Ross William Ulbricht, (2) Caleb Bradberry, (3) Roman Hossain, (4) Lucas E.

28 Buckley, (5) First 100 LLC, Battle Born Investments Company LLC, and 1st One Hundred Holdings

     JUDGMENT AND ORDER OF FORFEITURE
             Case 3:20-cv-07811-RS           Document 127        Filed 08/16/22      Page 2 of 2




 1 LLC (collectively “Battle Born”). In addition, two parties sought to intervene: Adesijuola Ogunjobi and

 2 Nobuaki Kobayashi. All but one of the parties were dismissed or withdrew. See Docket No. 19

 3 (Ogunjobi denial); Docket 48 (Bradberry withdrawal); Docket No. 105 (Hossain, Battle Born, Matusko,

 4 and Kobayashi dismissals), and Docket No. 122 (Buckley dismissal). The only remaining party, Ross

 5 William Ulbricht, entered into a settlement agreement stipulating to the forfeiture of the Defendant

 6 Bitcoins. Docket No. 47.

 7          THEREFORE, based on the settlement agreement, the entire record of the case, and good cause

 8 appearing, IT IS HEREBY:

 9          ORDERED, ADJUDGED AND DECREED that a judgment be and hereby is

10 entered for the United States against the Defendant Bitcoins; and it is

11          FURTHER ORDERED, ADJUDGED AND DECREED that the Defendant Bitcoins be and

12 hereby are forfeited to the United States, pursuant to 18 U.S.C. §§ 981(a)(1)(A), 981(a)(1)(C), 981(b),

13 and 21 U.S.C. § 881(a)(6), and that all right, title and interest in said property be and hereby is vested in

14 the United States of America; and it is

15          FURTHER ORDERED that the United States shall dispose of the forfeited defendant property

16 according to law.

17          IT IS SO ORDERED.

18
19
           August 16, 2022
20 DATED: ________________                                        _______________________________
                                                                  HONORABLE RICHARD SEEBORG
21                                                                Chief District Court Judge
22

23

24

25

26

27

28

     JUDGMENT AND ORDER OF FORFEITURE
